Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 1of7 PagelD.729

CLARE E. CONNORS 7936
Attorney General of Hawaii

CARON M. INAGAKI 3835
KENDALL J. MOSER 6515

Deputy Attorneys General
Department of the Attorney
General, State of Hawaii
425 Queen Street
Honolulu, Hawaii 96813
Telephone: (808) 586-1494
Facsimile: (808) 586-1369
E-Mail: Caron M. Inagaki@hawaii.gov
Kendall.J.Moser@hawaii.gov

Attorneys for Defendant
CLARE E. CONNORS, in her
Official Capacity as the Attorney
General of the State of Hawaii

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID CIVIL NO. 19-00578 JMS-RT
KIKUKAWA,
DEFENDANT CLARE E.
Plaintiffs, CONNORS, IN HER OFFICIAL
CAPACITY AS THE ATTORNEY
VS. GENERAL OF THE STATE OF
HAWAII’S (1) OPPOSITION TO
CLARE E. CONNORS, in her PLAINTIFFS’ SEPARATE
Official Capacity as the Attorney CONCISE STATEMENT OF
General of the State of Hawaii, MATERIAL FACTS IN
SUPPORT OF MOTION FOR
Defendant. SUMMARY JUDGMENT, AND
(2) CONCISE STATEMENT OF
MATERIAL FACTS IN
SUPPORT OF COUNTER
MOTION FOR SUMMARY

Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 2 of 7 PagelD.730

JUDGMENT; DECLATION OF
KENDALL J. MOSER; EXHIBITS
“A”-“S”; CERTIFICATE OF
SERVICE

ECF No. 85

Hearing
Date: June 28, 2021

Time: 10:00 a.m.
Chief Judge J. Michael Seabright

Trial Date: February 23, 2022

DEFENDANT CLARE E. CONNORS, IN HER OFFICIAL CAPACITY
AS THE ATTORNEY GENERAL OF THE STATE OF HAWAII’S
(1) OPPOSITION TO PLAINTIFFS’ SEPARATE CONCISE STATEMENT
OF MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT, AND (2) CONCISE STATEMENT OF MATERIAL FACTS
IN SUPPORT OF COUNTER MOTION FOR SUMMARY JUDGMENT

Defendant Clare E. Connors, in her Official Capacity as the Attorney
General of the State of Hawaii (“Defendant”), by and through her attorneys, Caron
M. Inagaki and Kendall J. Moser, Deputy Attorneys General, pursuant to Local
Rule 56.1, hereby submits (1) her opposition to Plaintiffs’ Separate Concise
Statement of Material Facts in Support of Motion for Summary Judgment [ECF
No. 86], and (2) her concise statement of material facts in support of her counter

motion for summary judgment.
Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 3 of 7 PagelD.731

# | FACTS IN PLAINTIFFS’ SEPARATE DEFENDANT’S
CONCISE STATEMENT RESPONSES

1. | H.R.S. § 134-2(e) invalidates a permit to Admit
acquire a handgun after ten days.

2. | H.R.S. § 134-3 requires in person registration | Admit
of handguns.

3. | Plaintiff Todd Yukutake is unable to take Unknown
personally owned firearms on federal property.

4. | Plaintiff Yukutake must take off work to Unknown
register firearms.

5. | Plaintiff David Kikukawa must take time off | Unknown
work to register handguns.

6. | Plaintiff Kikukawa stated that it is often Unknown
difficult for him to take off from work and
when he does, he either has to use personal
time or a vacation day to take off.

7. |HRS § 846-2.7(a) and HRS § 846-2.7(b)(43) Deny
mandates entry of firearm purchases in the
FBI’s rap back program.

8. | Rap back is a “service of the [FBI] that Admit that Exhibit “G” to
provides continuous criminal record Plaintiffs’ Concise Statement
monitoring . . . and notifies them when an says what Plaintiffs say it
individual subject to a criminal history check | does.
is arrested for a criminal offense anywhere in
the country.”

9. | There were 357 permits to acquire handguns Admit that in 2020, 357
voided in 2020 because the applicant “failed to | (1.4%) of all firearm permit
return for their permits within the specified applications were voided
time period.” because the applicants failed

to return for their permits
within the specified time
period.

10. | There were 370 permits to acquire handguns Admit that in 2019, 370

voided in 2019 because the applicant “failed to
return for their permits within the specified
time period.”

(2.3%) of all firearm permit
applications were voided
because the applicants failed
to return for their permits
within the specified time

Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 4 of 7 PagelD.732

period.

11. | There were 437 permits to acquire handguns Admit that in 2018, 437
voided in 2018 because the applicant “failed to | (2.4%) of all firearm permit
return for their permits within the specified applications were voided
time period.” because the applicants failed

to return for their permits
within the specified time
period.

12. | There were 367 permits to acquire handguns Admit that in 2017, 367
voided in 2017 because the applicant “failed to | (2.2%) of all firearm permit
return for their permits within the specified applications were voided
time period.” because the applicants failed

to return for their permits
within the specified time
period.

13. | An application for Permit to Acquire Firearms | Admit
requires the caliber, make, model, type and
serial number of the firearm to be purchased.

# | FACTS IN SUPPORT OF DEFENDANT?’S | EVIDENTIARY
COUNTER MOTION SUPPORT

1. | A basic firearm registration requirement was __| See Exhibit “A” to the
first adopted by the Territorial Legislature in | Declaration of Kendall J.
1907. Moser.

2. | Act 85 required “any person, firm, corporation | Id.
or copartnership” residing or doing business in
Hawaii that has “any fire arm or fire arms or
any ammunition in its possession to file a
“description” of the firearm, firearms, or
ammunition with the county clerk.

3. | The description included the “class of fire Id.
arms,” the “name of the maker[,] and the
factory number.”

4. | The name of the owner or possessor, the Id

person’s address, and the person’s signature
also had to be included on the description
form.

Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 5of7 PagelD.733

5. | In 1919, the Territorial Legislature adopted a | See Exhibit “B” to the

“permit to purchase” requirement for firearms. | Declaration of Kendall J.
Moser.

6. | The Senate Committee on Military stated that | See Exhibit “C” to the
the purpose of this provision was to “enable the} Declaration of Kendall J.
police authorities to have a better supervision | Moser.
and check over the sale of firearms.”

7. | In 1923, the Territorial Legislature passed Act | See Exhibit “D” to the
156 which changed the language from a Declaration of Kendall J.
“‘permit to purchase” to a “permit to acquire.” | Moser.

8. | In 1927, the Territorial Legislature passed Act | See Exhibit “E” to the
206. Declaration of Kendall J.

Moser.

9. | Act 206 clarified that the required Id.
“description” had to be in a “report” to the
county sheriff (Section 18) and that the
“permit to acquire” applied to a “sale, gift,
loan or otherwise” (Section 9) and not just to
disposition by dealers (Section 23).

10. | Act 206 also added a scheme by which Id.
firearms would be confined to a person’s
“dwelling house or business office” (Section
5), unless the person obtained a license to
carry (Section 7).

11. | An exception was also made for transporting a | Id.
firearm in a wrapper between a place of
purchase or repair, a home, or a place of
business (Section 6).

12. | Act 206 also prohibited the alteration of Id.
identifying marks: ‘“‘No person shall change,
alter, remove, or obliterate the name of the
maker, model, manufacturer’s number or other
mark of identification on any pistol or
revolver” (Section 13).

13. | In passing Act 206, the Legislature indicated | See Exhibit “F’” to the
that its purpose was to make the firearms Declaration of Kendall J.
statutes more effective. Moser.

14. | In the 1933-1934 Special Session, the firearms | See Exhibit “G” to the

statutes were comprehensively revised when

Declaration of Kendall J.

Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 6of7 PagelD.734

the Territorial Legislature passed Act 26.

Moser.

15. | The Legislature stated that “[t]he purpose of See Exhibit “H” to the
the Bill is to give the law enforcing agencies Declaration of Kendall J.
of the Territory a better means of controlling | Moser.
the sale, transfer and possession of firearms
and ammunition.”

16. | In 1968, the firearm registration provision was | See Exhibit “J” to the
codified as HRS § 134-2, and the permit to Declaration of Kendall J.
acquire provision was codified as HRS § 134- | Moser.

3.

17. | The prohibition on alteration of identification | Id.
marks was codified as HRS § 134-10.

18. | In 1988, HRS Chapter 134, Part I, was entirely | See Exhibit “K” to the
recodified. Declaration of Kendall J.

Moser.

19. | The registration and permitting provisions Id.
were reversed, with the permit to acquire
provision becoming HRS § 134-2 and the
registration provision becoming HRS § 134-3.

20. | The current permit to acquire provision See Exhibits “L” (2011) and
continues to be located in HRS § 134-2. “M” (2018) to the

Declaration of Kendall J.
Moser.

21. | The current registration provision continues to | Id.
be located in HRS § 134-3.

22. | The prohibition against alteration of Id.
identification marks is still located in HRS §

134-10.

23. | In 1990, the Legislature considered amending | See Exhibit “N” to the
the statutes to prohibit the possession of Declaration of Kendall J.
firearms near public and private schools. Moser.

24. | Ultimately, however, the Legislature decided | Id.
to instead increase the penalties under the
existing firearms laws.

25. | The Senate Judiciary Committee explained: See Exhibit “O” to the

“While your Committee strongly agrees that
our educational institutions should be places of
sanctuary, we believe just as strongly that our
entire community should be a safe place to live

Declaration of Kendall J.
Moser.

Case 1:19-cv-00578-JMS-RT Document 92 Filed 05/28/21 Page 7 of 7 PagelD.735

and learn and that everyone deserves to feel
free from the threat of harm wherever they

go.”
26. | As part of the Plaintiffs’ settlement with the See the Declaration of
City and County in this case, the Honolulu Kendall J. Moser at { 18.

Police Department Firearms Permit Unit
agreed to extend their hours of operation.

DATED: Honolulu, Hawaii, May 28, 2021.
STATE OF HAWAII

CLARE E. CONNORS
Attorney General
State of Hawaii

/s/ Kendall J. Moser
KENDALL J. MOSER
Deputy Attorney General

Attorney for Defendant

CLARE E. CONNORS, in her
Official Capacity as the Attorney
General of the State of Hawaii

